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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


EMOJI COMPANY GmbH,

       Plaintiff,
                                                   Case No. 22-cv-3698
v.
                                                   Sharon Johnson Coleman
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,
      Defendants.

                                  FINAL JUDGMENT ORDER

        This action having been commenced by EMOJI COMPANY GmbH against the

 defendants identified in the attached Amended Schedule A and using the Defendant Domain

 Names and Online Marketplace Accounts (collectively, the “Defendant Internet Stores”), and

 Plaintiff having moved for entry of Default and Default Judgment against the defendants

 identified in the Amended Schedule A attached hereto (collectively, the “Defaulting

 Defendants”);

        This Court having entered upon a showing by Plaintiff, a temporary restraining order and

 preliminary injunction against Defaulting Defendants which included a domain name transfer

 order and asset restraining order;

        Plaintiff having properly completed service of process on Defaulting Defendants, the

 combination of providing notice via electronic publication or e-mail, along with any notice that

 Defaulting Defendants received from domain name registrars and payment processors, being

 notice reasonably calculated under all circumstances to apprise Defaulting Defendants of the
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pendency of the action and affording them the opportunity to answer and present their

objections; and

        None of the Defaulting Defendants having answered the Complaint or appeared in any

way, and the time for answering the Complaint having expired;

        THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants since Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Defendant Internet Stores through which Illinois residents can purchase products

bearing counterfeit versions of EMOJI trademarks which are protected by U.S. Trademark

Registration Nos. 4,868,832, 5,202,078 and 5,415,510 (collectively referred to as the “EMOJI

Trademarks”).

        THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin

(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815

ILCS § 510, et seq.).

        IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

        IT IS FURTHER ORDERED that:

1.      Defaulting Defendants, their officers, agents, servants, employees, attorneys, and all

        persons acting for, with, by, through, under, or in active concert with them be

        permanently enjoined and restrained from:



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   a.    using the EMOJI Trademarks or any reproductions, counterfeit copies or

         colorable imitations thereof in any manner in connection with the distribution,

         marketing, advertising, offering for sale, or sale of any product that is not a

         genuine EMOJI Product or is not authorized by Plaintiff to be sold in connection

         with the EMOJI Trademarks;

   b.    passing off, inducing, or enabling others to sell or pass off any product as a

         genuine EMOJI Product or any other product produced by Plaintiff, that is not

         Plaintiff’s or is not produced under the authorization, control or supervision of

         Plaintiff and approved by Plaintiff for sale under the EMOJI Trademarks;

   c.    committing any acts calculated to cause consumers to believe that Defaulting

         Defendants’ products are those sold under the authorization, control or

         supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

         with Plaintiff;

   d.    further infringing the EMOJI Trademarks and damaging Plaintiff’s goodwill;

   e.    shipping, delivering, holding for sale, transferring or otherwise moving, storing,

         distributing, returning, or otherwise disposing of, in any manner, products or

         inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be

         sold or offered for sale, and which bear any of the EMOJI Trademarks or any

         reproductions, counterfeit copies or colorable imitations thereof;

   f.    using, linking to, transferring, selling, exercising control over, or otherwise

         owning the Online Marketplace Accounts, the Defendant Domain Names, or any

         other domain name or online marketplace account that is being used to sell or is

         the   means       by   which   Defaulting   Defendants   could   continue   to   sell

         Counterfeit/Infringing Products; and

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        g.     operating and/or hosting websites at the Defendant Domain Names and any other

               domain names registered or operated by Defaulting Defendants that are involved

               with the distribution, marketing, advertising, offering for sale, or sale of any

               product bearing the EMOJI Trademarks or any reproduction, counterfeit copy or

               colorable imitation thereof that is not a genuine EMOJI Product or is not

               authorized by Plaintiff to be sold in connection with the EMOJI Trademarks.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, PayPal.com (“PayPal”), Context Logic, Inc. (“Wish”), VeriSign, Inc., Neustar, Inc.,

        Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, within five (5)

        business days of receipt of this Order, shall, at Plaintiff’s choosing:

        a.     permanently transfer the Defendant Domain Names to Plaintiff’s control,

               including unlocking and changing the registrar of record for the Defendant

               Domain Names to a registrar of Plaintiff’s selection, and the domain name

               registrars shall take any steps necessary to transfer the Defendant Domain Names

               to a registrar of Plaintiff’s selection; or

        b.     cancel the registrations for the Defendant Domain Names and make them

               inactive.

3.      Those in privity with Defaulting Defendants and with actual notice of this Order,

        including any online marketplaces such as iOffer and PayPal, Wish, social media

        platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as

        Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and domain name

        registrars, shall within five (5) business days of receipt of this Order:

        a.     disable and cease providing services for any accounts through which Defaulting

               Defendants engage in the sale of counterfeit and infringing goods using the

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               EMOJI Trademarks, including any accounts associated with the Defaulting

               Defendants listed in the Amended Schedule A attached hereto;

        b.     disable and cease displaying any advertisements used by or associated with

               Defaulting Defendants in connection with the sale of counterfeit and infringing

               goods using the EMOJI Trademarks; and

        c.     take all steps necessary to prevent links to the Defendant Domain Names

               identified in the Amended Schedule A from displaying in search results,

               including, but not limited to, removing links to the Defendant Domain Names

               from any search index.

4.      Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiffs are awarded statutory damages from each

        of the Defaulting Defendants in the amount of fifty thousand dollars ($50,000) for willful

        use of counterfeit EMOJI Trademarks on products sold through at least the Defendant

        Internet Stores. This damages award is proper to balance the goals of compensation and

        deterrence while avoiding over-punishment and over-deterrence. In light of the low cost

        of the infringing products on average, statutory damages are set at $50,000 per

        Defendant.

5.      PayPal and Wish shall, within five (5) business days of receipt of this Order, permanently

        restrain and enjoin any accounts connected to Defaulting Defendants, Defaulting

        Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites identified

        in the Amended Schedule A from transferring or disposing of any money or other of

        Defaulting Defendants’ assets.

6.      All monies currently restrained in Defaulting Defendants’ financial accounts, including

        monies held by PayPal and Wish, are hereby released to Plaintiff as partial payment of

        the above-identified damages, and PayPal and Wish are ordered to release to Plaintiff the

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        amounts from Defaulting Defendants’ PayPal and Wish accounts within ten (10) business

        days of receipt of this Order.

7.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

        Defendant, Plaintiff shall have the ongoing authority to serve this Order on PayPal and

        Wish in the event that any new PayPal and Wish accounts controlled or operated by

        Defaulting Defendants are identified. Upon receipt of this Order, PayPal and Wish shall

        within five (5) business days:

        a.     Locate all accounts and funds connected to Defaulting Defendants, Defaulting

               Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

               including, but not limited to, any PayPal and Wish accounts;

        b.     Restrain and enjoin such accounts or funds from transferring or disposing of any

               money or other of Defaulting Defendants’ assets; and

        c.     Release all monies restrained in Defaulting Defendants’ PayPal and Wish

               accounts to Plaintiff as partial payment of the above-identified damages within

               ten (10) business days of receipt of this Order.

8.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

        Defendant, Plaintiff shall have the ongoing authority to serve this Order on any banks,

        savings and loan associations, or other financial institutions (collectively, the “Financial

        Service Providers”) in the event that any new financial accounts controlled or operated by

        Defaulting Defendants are identified. Upon receipt of this Order, the Financial Service

        Providers shall within five (5) business days:

        a.     Locate all accounts connected to Defaulting Defendants, Defaulting Defendants’

               Online Marketplace Accounts or Defaulting Defendants’ websites;



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         b.     Restrain and enjoin such accounts from receiving, transferring or disposing of any

                money or other of Defaulting Defendants’ assets; and

         c.     Release all monies restrained in Defaulting Defendants’ financial accounts to

                Plaintiff as partial payment of the above-identified damages within ten (10)

                business days of receipt of this Order.

9.       In the event that Plaintiff identifies any additional online marketplace accounts, domain

         names or financial accounts owned by Defaulting Defendants, Plaintiff may send notice

         of any supplemental proceeding to Defaulting Defendants by e-mail at the email

         addresses identified in Exhibit 2 to the Declaration of Jose Santiago and any e-mail

         addresses provided for Defaulting Defendants by third parties.

10.      The ten-thousand-dollar ($10,000) surety bond posted by Plaintiff is hereby released to

         counsel of record for Plaintiff, Michael A. Hierl of Hughes Socol Piers Resnick & Dym,

         Ltd. at Three First National Plaza, 70 W. Madison Street, Suite 4000, Chicago, IL 60602.

         This is a Final Judgment.



Dated: February 23, 2023


                                       _____________________________________
                                       Sharon Johnson Coleman
                                       United States District Judge




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                           AMENDED SCHEDULE A

                No.   Defendant Name / Alias
                 1    fengbingbin
                 2    fengyiguang
                 3    FIREDDDD4444
                 4    Flyied
                 5    Foil balloon store
                 6    Freedom & Dream
                 7    Furrieion
                 8    Gao-Jian.hangzhou
                 9    gaozhao
                10    Gemini's Shop
                11    GGan
                12    glambitiong
                13    Gold Mountain
                14    Granboda
                15    guobiying66058
                16    guomiao
                17    Gyudanchen
                18    GZMeiYi
                19    hainihaomanihao
                20    HangHai
                21    hanghailu-erqiqu
                22    HAOGE1990
                23    hebeisongstore
                24    helejia
                25    hhllou
                26    honhhonhdedian
                27    Honlam
                28    huachenyuai
                29    hualinhuilao
                31    huangshixiu718
                32    huliang
                33    huomiaoge
                34    hylddp
                35    Ifenty
                37    ilirongrongshoping
                39    jiaosainan
                40    CanglanzhiyA
                41    FeedingTher
                42    feiwan
                43    feiyuefang
                44    Feng yuxuan
                45    fengmingyue

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                47   fg364sdfgfdg
                48   fg36dsfdhj
                49   Fg9vnG9F
                50   fgbhbsd
                51   financial crisis
                53   first touch
                54   firstfaster
                55   fjlfjljialili
                56   flavourxd
                57   floatingdream
                58   flood
                59   Flowers growing in their own homes
                60   flowupe
                61   For me
                63   forlovepad
                64   fortune kids
                65   fph
                66   frdhtewfsrdwef
                68   Fresh Zone
                69   frVUIzvN
                70   fuhaifeng
                71   fujuan4453
                72   fulingzhi
                73   fulinmen999
                74   fullDawn
                75   Fun international trading corporation
                76   funninggirl
                77   funnvoicey
                78   FUNNY SHOPPING DAY
                79   Fushengnan135
                80   galowtew
                81   gaodong
                82   gaoduandingzhi
                83   gaona12345
                84   gaoxiamo
                86   GCKG Shop
                87   gdcgdd
                88   gefhwewsgfvbg
                90   ghjghjgffgk
                91   Glass
                92   glassczx88
                93   Global Shop
                94   GLOBAL_WORLD0618
                96   Go.girl
                97   GoBait

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                 98   Goddess-Beauty
                 99   Gold Garden Electronic Commerce Co.,Ltd
                101   Golden blue jade store
                102   Golden bra
                103   Golden pleasure
                105   goldluck
                106   goldxiuhua
                108   Gongsimeidedian
                109   Good and beautiful
                110   good sun baby
                111   Good_time
                112   Gorgeous vintage
                113   Gottby
                114   greatshop88
                115   Green Home Patch
                116   greenalliance
                117   greenlight
                118   greenpapaya
                119   grm15224830425@163.com
                120   grodno
                121   GSDS
                122   Guangshun Department Store
                123   guangzhoushizhimingmaoyiyouxiangongsi
                124   GUI Lili
                125   GUIUGJJKIIJ
                126   GuiwenYan
                127   guiyang
                128   guoguoxi
                129   guohualilil
                130   guoruiruimei
                131   guotianliang
                133   Gyfter
                134   Hahayule fashion tees
                135   HAIBITAO
                136   haidongfashion
                137   haifeng131415
                138   haishuanmaoyi
                139   haiwei store
                140   Hamelin fun toy shop
                141   handworld2015
                142   hangxiuqin
                143   hanks777
                144   hanqiuyue
                145   Hao Trade
                147   haolzshop

                                      10
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                148   Haoping
                149   haoying1
                150   HaoYuan
                151   Happy Balloon Kingdom
                152   happy home2017
                153   Happy_done
                154   HappyGhostsSexToys
                155   Happypotatoto
                156   Hazy Moon
                157   Head Quarters Accessories
                158   heartert
                159   Hebei Great Wall Luggage Co., Ltd
                160   hedengli
                162   hele
                163   Helenshose
                164   hello716
                166   Hemsworth
                167   Heritage CIassic
                169   Het-sodifed
                170   HEYO Online
                171   HH168
                172   high-qulity
                173   hkshop
                176   homemart
                177   Honest Jewelry
                178   hongfuyiren
                179   HongKong MicroPower Industry limited
                180   honglong8
                181   hongyannvzhuang
                182   hongzhou
                183   HOPELUO
                185   hotgirls
                187   housetech
                188   houzihao
                189   Hua Chang International
                190   Hua Yaosheng flourishing business
                191   Huairong Co., Ltd
                192   huangjiamingivan
                193   huangjianbiao fashion
                194   huangws
                195   huangxiangguang2017
                197   huangxiaoyong1
                198   huangxinxiaopu
                199   huashi
                201   huayushuhuayi

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                202   hubei66daye
                203   hucaiyun
                204   huhongfang112233
                205   huhu689
                206   HuiBaoFS
                207   huihui dian zi
                208   huihuixiaodian588
                209   Huiyade
                210   huofenghuang888
                211   huqinjun
                212   hushion
                213   hzj_shop
                214   i7ezdf
                215   iamzpp
                216   Ilucky store
                217   importandexportsanitaryware
                218   Indore
                219   InFaye
                220   infinite collection
                221   In-Moon.Light
                222   international widget maker
                224   ipah 2017
                225   Is the layer of clothing
                226   iwefjewvewiq90
                227   IYOE
                228   JACKSON NANCY
                229   Jackson NancyY
                230   Jameszhuang
                231   Janeighen
                232   Janna Mall
                233   JasonSun&JaneXuan
                235   Jayoyo
                236   JC Golf
                237   jeolinkcn
                238   jerifashion
                239   Jersy
                240   Jewelry More
                241   jewelry ocean
                243   jiancedianzi333
                244   jianghongxiahad
                245   jiangjinhong
                246   jiangxi sesame Electronic Commerce Co.,Ltd
                247   jianjiansunglasses
                248   jianyingying
                249   jiaoyousuo

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                250   myuknu store




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